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                         UNITED STATES DISTRICT COURT
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                                 EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                      Case No. 1:12-CR-00184 AWI-BAM

11                      Plaintiffs,                 ORDER TO ATTORNEY RAVIS TO
                                                    SHOW CAUSE WHY SANCTIONS
12           v.                                     SHOULD NOT BE IMPOSED

13   HERNANA CORTEZ VILLASENOR,
     DAVID ARREOLA, JOSE LUIS GARCIA
14   VILLA

15                      Defendants.

16   _____________________________________/

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18         This Court conducted a regularly set status conference in the above referenced matter on

19 February 24, 2014 at 1:00 p.m. Counsel for defendant David Arreola, Attorney Mark Ravis, failed

20 to appear at the status conference.

21         Attorney Ravis SHALL appear at a continued status hearing on February 26, 2014 at 9:30

22 a.m. in Department 8, and show cause why sanctions should not be imposed for failure to appear

23 and failure to comply with Court orders. Local Rules 110.

24
     IT IS SO ORDERED.
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26      Dated:    February 24, 2014                      /s/ Barbara A. McAuliffe            _
                                                   UNITED STATES MAGISTRATE JUDGE
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